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CIVIL COVER SHEET

The JS 44 civil cover sheet and the information contained herein neither replace nor supplement the filing and service of pleadings or other papers as required by law, except as
provided by local rules of court. This form, approved by the Judicial Conference of the United States in September 1974, is required for the use of the Clerk of Court for the

JS 44 (Rev. 04/21)

purpose of initiating the civil docket sheet.

I. (a) PLAINTIFFS
Gregory Nelson

(b) County of Residence of First Listed Plaintiff

Berks

(EXCEPT IN U.S. PLAINTIFF CASES)

(c) Attorneys (Firm Name, Address, and Telephone Number)
Miller Law Group, PLLC, 25 Stevens Avenue
West Lawn, PA 19609 (610) 670-9000

(SEE INSTRUCTIONS ON NEXT PAGE OF THIS FORM.)

DEFENDANTS

County of Residence

Attorneys (If Known)

 

Bollman Hat Factory

of First Listed Defendant

Lancaster =

(IN U.S. PLAINTIFF CASES ONLY)

NOTE: INLAND CONDEMNATION cope USE THE LOCATION OF
THE TRACT OF LAND INVOLVE

 

II. BASIS OF JURISDICTION (Place an “x”

in One Box Only)

 

(For Diversity Cases Only)

1. CITIZENSHIP OF PRINCIPAL PARTIES (Place an “X” in One Box for Plaintiff
and One Box for Defendant)

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

fe) 1 U.S. Government [x]3 Federal Question PTF DEF PTF DEF
Plaintiff (U.S. Government Not a Party) Citizen of This State [x] 1 | 1 Incorporated or Principal Place | 4 4
of Business In This State
[=] 2 U.S. Government QO 4 Diversity Citizen of Another State | 2 Cc 2 Incorporated and Principal Place Oo 5 CL] 5
Defendant (Indicate Citizenship of Parties in Item I) of Business In Another State
Citizen or Subject of a Cl 3 C 3 Foreign Nation C 6 Cl 6
Foreign Country
TV. NATURE OF SUIT (Place an “xX” in One Box Only) Click here for: Nature of Suit Code Descriptions.
| CONTRACT : TORTS | FORFEITURE/PENALTY_ BANKRUPTCY _ OTHER STATUTES
110 Insurance PERSONAL INJURY PERSONAL INJURY i 625 Drug Related Seizure 422 Appeal 28 USC 158 375 False Claims Act
120 Marine - 310 Airplane CL] 365 Personal Injury - of Property 21 USC 881 423 Withdrawal 376 Qui Tam (31 USC
130 Miller Act 315 Airplane Product Product Liability | 690 Other 28 USC 157 3729(a))
140 Negotiable Instrument Liability [_] 367 Health Care/ INTELLECTUAL |_| 400 State Reapportionment
[_] 150 Recovery of Overpayment |] 320 Assault, Libel & Pharmaceutical |___ PROPERTY RIGHTS 410 Antitrust
& Enforcement of Judgment) Slander Personal Injury Hi 820 Copyrights 430 Banks and Banking
151 Medicare Act | 330 Federal Employers’ Product Liability 830 Patent 450 Commerce
| 152 Recovery of Defaulted Liability Cc 368 Asbestos Personal ~ 835 Patent - Abbreviated 460 Deportation
Student Loans - 340 Marine Injury Product New Drug Application 470 Racketeer Influenced and
(Excludes Veterans) 345 Marine Product Liability 840 Trademark Corrupt Organizations
[_] 153 Recovery of Overpayment Liability PERSONAL PROPERTY LABOR 880 Defend Trade Secrets [_] 480 Consumer Credit
of Veteran’s Benefits 350 Motor Vehicle 370 Other Fraud 710 Fair Labor Standards Act of 2016 (15 USC 1681 or 1692)
[| 160 Stockholders’ Suits - 355 Motor Vehicle | 371 Truth in Lending Act | 485 Telephone Consumer
[| 190 Other Contract Product Liability [| 380 Other Personal | 720 Labor/Management SOCIAL SECURITY Protection Act
195 Contract Product Liability 360 Other Personal Property Damage Relations 861 HIA (1395ff) 490 Cable/Sat TV
196 Franchise Injury CL] 385 Property Damage Hr Railway Labor Act 862 Black Lung (923) 850 Securities/Commodities/
362 Personal Injury - Product Liability 751 Family and Medical 863 DIWC/DIWW (405(g)) Exchange
Medical Malpractice Leave Act 864 SSID Title XVI | 890 Other Statutory Actions
_ REAL PROPERTY _CIVIL RIGHTS PRISONER PETITIONS 790 Other Labor Litigation [| 865 RSI (405(g)) |_| 891 Agricultural Acts
| [210 Land Condemnation |x | 440 Other Civil Rights Habeas Corpus: 791 Employee Retirement | | 893 Environmental Matters
220 Foreclosure P= 441 Voting 463 Alien Detainee Income Security Act Vai FERAL TAX SUITS 895 Freedom of Information
230 Rent Lease & Ejectment 442 Employment 510 Motions to Vacate r | 870 Taxes (U.S. Plaintiff Act
240 Torts to Land 443 Housing/ Sentence or Defendant) 896 Arbitration
245 Tort Product Liability Accommodations | 530 General r | 871 IRS—Third Party 899 Administrative Procedure
| 290 All Other Real Property | 445 Amer. w/Disabilities -[_ | 535 Death Penalty IMMIGRATION 26 USC 7609 Act/Review or Appeal of
Employment Other: 462 Naturalization Application Agency Decision
446 Amer. w/Disabilities -||_| 540 Mandamus & Other 465 Other Immigration | 950 Constitutionality of
Other 550 Civil Rights Actions State Statutes
448 Education 555 Prison Condition
560 Civil Detainee -
Conditions of
Confinement

 

 

 

 

 

 

V. ORIGIN (Place an “X” in One Box Only)
1 Original 2 Removed from
Proceeding State Court

VI. CAUSE OF ACTION FF iecipione

 

3 Remanded from

Appellate Court

f cause:

Cl 4 Reinstated or = 5 Transferred from
Another District
(specify)

Cite the U.S. Civil Statute under which you are filing (Do not cite jurisdictional statutes unless diversity):
Title Vil of the Civil Rights Act of 1964, as codified, 42 U.S.C. Sections 2000e to 2000e-17

Reopened

Employment Discrimination based on Race and Color, Wrongful Termination

Transfer

6 Multidistrict
Litigation -

8 Multidistrict
Litigation -
Direct File

 

 

 

 

 

VIL REQUESTED IN [| CHECK IFTHISIS A CLASS ACTION DEMAND $ CHECK YES only if demanded in complaint:
COMPLAINT: UNDER RULE 23, F.R.Cv.P. JURY DEMAND: LClyes []No
VII. RELATED CASE(S)
IF ANY Bee insrnctions): GE DOCKET NUMBER
DATE rs: OF ar ‘CORD
FOR OFFICE USE ONLY ci
RECEIPT # AMOUNT APPLYING eee JUDGE MAG. JUDGE

 
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UNITED STATES DISTRICT COURT
for the

Eastern District of Pennsylvania

 

 

)

) Case No.
)
GREGORY NELSON, )
Plaintiff, )
)

v. ) Jury Trial: [X] Yes [] No

)
)
)
)
)
BOLLMAN HAT FACTORY, )
Defendants. )

COMPLAINT FOR EMPLOYMENT DISCRIMINATION

AND NOW, Comes, Plaintiff, Gregory Nelson, by and through his attorneys, Larry W.
Miller, Jr., Esquire, and the Miller Law Group, PLLC, and files this Complaint against
Defendants, and in support thereof, avers as follows:

PARTIES TO THE COMPLAINT

i Plaintiff is Gregory Nelson, an adult individual who resides at 210 N. Church Street,
Mohnton, Berks County, PA 19540. (hereinafter “Nelson”).
2. The Defendant is the employer, Bollman Hat Factory a Pennsylvania company with a
primary business address of 110 E. Main Street, Adamstown, Lancaster County, PA 19601

(hereinafter “Bollman’’).
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BASIS FOR JURISDICTION
3. The acts or occurrences giving rise to this complaint all occurred in Lancaster County,
Pennsylvania.
4. This action is brought for discrimination in employment pursuant to Title VII of the Civil

Rights Act of 1964, as codified, 42 U.S.C. §§ 2000e to 2000e-17.
AS AND FOR A FIRST CAUSE OF ACTION
5. Bollman discriminated against Nelson based upon his race and color.
6. The alleged racial slurs and discriminatory acts began in approximately 2010 and
continued until Nelson’s termination on February 9, 2021.

AS AND FOR A SECOND CAUSE OF ACTION
(As Pursuant to 43 P.S. §§ 211.1—211.39)

a The discriminatory conduct complained in this action includes unequal terms and

conditions of employment, retaliation, and the wrongful termination of Nelson’s employment.
FACTS OF THE CASE

8. Nelson began working for Bollman on January 3, 2003, as a machine operator. He was a

material handler when he was terminated.

9. Until the alleged incidents which led to Nelson’s termination, Nelson was an otherwise

dedicated employee and had been given “Wally Service Awards” and other commendations on

27 occasions during his 18-year employment at Bollman. Nelson enjoyed working at Bollman

and took an avid interest in cross-training to expand his knowledge at Bollman.

10.  Atsome point between 2018-2019, Bollman introduced walkie-talkie radios for

communication within the facilities. The CEO, President, HR Director, all Managers, Nelson

and a fellow material handler used the radios and all had access to hear every aired
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communication. When using the radio to call Nelson, Manager Jamie Dale (Dale) would refer to
Nelson as “Dark Vader” inappropriately referring to Nelson’s skin color.

11.  Onone such occurrence, another manager, Greg Leach (Leach) after hearing the
derogatory reference, came from another floor to speak with Nelson about him being called
“Dark Vader.” An appalled Leach said, “that’s not right” and indicated he would speak with
Rich Bainbridge (who was in charge of manufacturing). But nothing changed. Dale continued to
refer to Nelson as “Dark Vader” in open radio communications and Bollman blatantly did
nothing to correct it. Other employees in charge would tell Nelson, “I’ll take care of it” but, the
racial discrimination never stopped.

12. In April 2017, in the presence of Mark John and Nelson, Manager Wally Rotiserie was
talking about food stamps and how “spics and niggers” were on them. Nelson interrupted Wally,
expressed his disgust with the racial slurs and walked away. Nelson reported this incident to his
then supervisor who directed him to file a report with Bollman’s Human Resources Department,
which Nelson did. Bollman offered an apology to Nelson but Bollman took no further action
regarding the matter.

13. While working, Dale was having a conversation with other employees about the
Philadelphia Eagles. Nelson, who was standing nearby, attempted to add to the conversation
when Dale sternly said to Nelson “Turn your black ass around and get back to work.”

14. The racial slur “nigger” was uttered frequently to and around Nelson and in spite of
Nelson’s known objections and reports. Some managers would smirk or smile when they
overheard the racial slurs. During Nelson’s 18 years of employment, Bollman did nothing to

change the discriminatory behaviors of its employees.
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15. Meredith Miller (Miller) became Nelson’s direct supervisor in June of 2020. On June 8,
2020, Nelson met with Miller to review his job description and discuss the goals and
expectations for Nelson. On June 11, 2020, Nelson was asked to sign a summary of the June 8,
2020, meeting with Miller called “Notes of discussion with Greg Nelson” (Hereinafter “Notes”).
(EXHIBIT A)

16. On or about August 10, 2020, Nelson observed two Bollman maintenance employees
removing copper and other scrap materials out of the dumpsters and place them into the
employees’ private owned pick-up trucks which is expressly against Bollman company policy.
Nelson made a video of this activity and shared the video and reported the incident to Miller
approximately August 10, 2020.

17. Nelson expected confidentiality when he reported the theft of materials to Miller. After
the report was made, Nelson was subjected to harassment from other employees along with
being falsely accused of unprofessional behavior. Nelson found out from other employees they
knew all about the report he made regarding the theft of the materials, despite the implied
confidentiality. From that point, Nelson felt he could no longer trust his chain of command.

18. While on Covid-19 quarantine, Nelson received a call from H.R. Director Kim Hubric
(Hubric) at his home and was told he was being placed on paid administrative leave for 7 days
pending an investigation. When he returned to work, Nelson was told pursuant to the stipulations
listed in a document called “Last Chance Agreement” (Hereinafter “Agreement”). (EXHIBIT B)
The document specified a “formal conversation” with Nelson on June 10, 2020. The only
evidence of a “formal conversation” is the “Notes” document from June 8, 2020, signed on June
11, 2020, for which Nelson believed was to review his job description and set goals under his

new supervisor, not a reprimand nor a write-up. Additionally, the “Agreement” stated a second
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“formal meeting” (purportedly held as another reprimand) occurred on August 13, 2020. The
original “Notes” document had been visibly altered to include a note in the right margin which
appears to be written by Doug Sachs which reads “Reviewed with Greg 8/13/2020” with the
initials “GN”. Nelson recalls no such meeting on August 13, 2020, and moreover states that is
not his handwriting for the initials “GN” on the modified “Notes” document. (EXHIBIT C)

19. | Nelson returned to work on or about November 30, 2020 and signed the “Last Chance
Agreement” after objecting to the document including the unknown meeting of August 13, 2020.
Nelson began feeling he was being held to standards that were not being used for other
employees in the company and that he had become a target for termination.

20. Throughout the month of December, the tension at Bollman surrounding Nelson was
palpable. When walking through the maintenance department, the employee he reported for
stealing copper said to Nelson “I can’t believe your black ass is still here.”

21. Onor about January 6, 2021, Nelson observed a picture of himself (taken from the Inc.
magazine featured company article) hanging on the Maintenance Manager’s door with a written
caption which read “$.50 reward for anyone who catches this person”. (EXHIBIT D) Nelson
instantly felt demeaned, racially threatened, and no longer felt comfortable at Bollman. Nelson
reported the incident to Miller and by the end of the day on January 7, 2021, Nelson was called
Hubric’s office to discuss the incident. Hubric apologized to Nelson and advised there would be
an investigation. Nelson asked Hubric for answers to four (4) questions: 1) How long had the
picture been posted on the door? 2) Why was it posted? 3) What was the meaning of the caption?
4) Who posted it? After the conversation with Hubric, Nelson figured it out that the person who
posted the offensive picture was the Maintenance Manager, Kevin Fry. Nelson was so disturbed

by the incident he began seeing a therapist to cope with the anxiety and stress of the
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mistreatment and discrimination while continuing to work at Bollman and he continued to see
the therapist through December 2021.

22. Nelson was called to the HR Department on January 11, 2021 to meet with Hubric and
Miller. Hubric apologized again about the posting incident and stated that disciplinary actions
will be taken upon the person who did it. Nelson advised Hubric that he could not keep going
through this torment at work, repeatedly feeling discriminated against while nothing was being
done by Bollman to correct it.

23. Nelson went to Company President Don Rongione’s (Rongione) office on or about the
morning of January 13, 2021. While Nelson was in Rongione’s office CEO Craig Womelsdorf
(Womelsdorf) arrived. Womelsdorf acknowledged that he knew of the picture incident and
apologized to Nelson for that type of unacceptable behavior. Womelsdorf was unable to explain
the reasoning for the picture and said confidentiality prevented him from disclosing who had
done such a disrespectful act.

24. On January 18, 2021, Nelson went to the HR Department and spoke with Carol to review
his personnel file for the purpose of checking the date of the slur incident report from 2017
however, the report of the racial slur was no longer in Nelson’s file. Carol could offer no
explanation for the missing report other than the former HR Director (who retired from the
company in June 2019) may have removed it. Throughout the rest of the meeting with Carol, she
interspersed utterances to Nelson of “I know what you’re doing.” “I know you’re getting a
lawyer.” “He didn’t mean what he did.” “It was a joke.” “If you are not happy here in this
company, then why are you still here?’ “Why not get another job?” Finally, feeling completely

demoralized and absolutely unheard, Nelson said nothing further and left Carol’s office.
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25. While in the meeting with Carol in the HR Department on January 18, 2021, Womelsdorf
came by and asked Nelson to come to his office to speak with him, which Nelson did after
leaving Carol’s office. Again, acknowledging the objectionable incidents Nelson had
encountered, Womelsdorf explained to Nelson that “everyone” (at Bollman) will have to do
“Harassment Training” on Thursday, February 4, 2021. This was the first time in Nelson’s 18-
year history with Bollman that any sensitivity/diversity training was being conducted.
Womelsdorf went on to ask Nelson if he was willing to accept an apology from the person who
posted the offensive picture on the Maintenance Manager’s door. Due to the level of disgust that
he felt, Nelson advised Womelsdorf he could not accept an apology from the offender.

26. OnFebruary 3, 2020, Bollman stated that Nelson engaged in an aggressive and profane-
filled conversation with Jamie Dale. Nelson vehemently denies those allegations and obtained
written statements from three (3) employees who were in the very same area and witnessed the
conversation. The employees specifically refuted that any raised voices or profanity was used by
Nelson.

27.  Bollman also stated that Nelson approached another employee on February 3, 2021
asking if she reported him to HR. Nelson denies this ever happened.

28. | OnFebruary 4, 2021 Miller stated that Nelson used inappropriate language to her when
she asked him a question. Nelson denies that occurred.

29. Nelson logged on and attended the audio Discriminatory Harassment Training on
February 4, 2021. At the end of the training, Nelson had some questions for which he was not
provided answers. Nelson was asked to sign an acknowledgement form for the training he
received. Because previous acknowledgement forms that Nelson signed turned out to be

disguised as write-ups and reprimands, he respectfully refused to sign the training form until he
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could speak with H.R. Department about his questions. Miller advised Nelson that she was
marking Nelson’s training form as “Refused to sign” instead of resolving Nelson’s questions
(EXHIBIT E).

30.  Onor about January 29, 2021, as Nelson was moving cardboard strips via the elevator,
the cardboard shifted and spilled. Nelson repositioned the cardboard promptly. Miller advised
Nelson she received an email complaining that Nelson intentionally held up the elevator causing
other employees to be inconvenienced. Nelson determined the email came from Dale and was
just another malicious attempt to discredit Nelson.

31. Miller stated she requested Nelson to move some cardboard on February 4, 2021, which
he did. Miller observed on February 5, 2021, the cardboard was still in place (another plant
hadn’t picked it up the previous evening. Miller requested the cardboard be moved again to a
different location. Miller stated that Nelson became angry and walked away. Nelson denies this
allegation.

32. On February 8, 2021, Miller requested Nelson to use an Unmounted Ring Machine that
was deemed unsafe to use by Miller. Nelson reminded Miller that she advised Nelson that the
machine was not safe to use for which Miller advised Nelson “You have my permission to use it
(the machine).” Nelson respectfully refused. (EXHIBIT F)

33. Nelson was terminated from Bollman on February 9, 2021. The Notice of Termination of
Employment (EXHIBIT G) cited Nelson violated the “Agreement” by his specific behavior of

February 3 and 4 which Nelson disagrees ever occurred.
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EXAUSTION OF FEDERAL ADMINISTRATIVE REMEDIES
34. Nelson filed a Pre-Charge Inquiry on January 29, 2021 and discrimination charge against
Bollman through U.S. Equal Employment Opportunity Commission (EEOC) on February 11,
2021, under charge number 530-2021-01702.
35. After completing their investigation, the EEOC issued Nelson a Dismissal and Notice of

Rights with Notice of Suit Rights dated October 21, 2021. (EXHIBIT H)

RELIEF
36. | WHEREFORE, Plaintiff prays this Court enter judgment and decree for Plaintiff and
against the Defendants as follows:

A. A judgment in favor of Plaintiff finding that Defendants egregious and
outrageous behavior against Plaintiff was in direct violation of Title VII of the Civil
Rights Act of 1964, amended.

B. A judgment to Plaintiff finding that the Defendants willfully and
intentionally discriminated against Plaintiff in direct violation of 43 P.S. §§ 211.1—
211.39 which resulted in Plaintiff's wrongful termination.

Ce Ordering that Defendants reimburse Plaintiff for his lost wages since his
wrongful termination.

D. Ordering that Defendants be responsible for Plaintiff's out of pocket
expenses for therapy.

E. Ordering that Defendants be required to pay all costs of this action,
including all attorney’s fees.

F, Ordering that due to Defendant’s egregious and outrageous behavior
Defendants be required to pay Plaintiff punitive damages in an amount of not less than
Three Hundred Thousand Dollars ($300,000.00).
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CERTIFICATION AND CLOSING

Under Federal Rule of Civil Procedure 11, by signing below, I certify to the best of my
knowledge, information and belief that this complaint: (1) is not being presented for an improper
purpose, such as to harass, cause unnecessary delay, or needlessly increase the cost of litigation;
(2) is supported by existing law or by a nonfrivolous argument for extending, modifying, or
reversing existing law; (3) the factual contentions have evidentiary support or, if specifically so
identified, will likely have evidentiary support after a reasonable opportunity for further
investigation or discovery; and (4) the complaint otherwise complies with the requirements of
Rule 11

Respectfully Submitted,

   

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/ ff
Dated: January 18, 2022 N\2 VAX A
<Latty W. Miller, Jr., Esquire
Attorney ID # 86007
Miller Law Group, PLLC
25 Stevens Avenue
West Lawn, PA 19609
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